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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


AVADEL CNS PHARMACEUTICALS, LLC

             Plaintiff,

      v.

XAVIER BECERRA, Secretary of Health and
Human Services
                                          Case No. 1:22-cv-02159-APM
U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES
                                          FILED UNDER SEAL
ROBERT M. CALIFF, Commissioner of Food
                                       ORAL ARGUMENT REQUESTED
and Drugs

U.S. FOOD AND DRUG
ADMINISTRATION

             Defendants,

and

JAZZ PHARMACEUTICALS, INC.

             Defendant-Intervenor.


  COMBINED MEMORANDUM OF POINTS AND AUTHORITIES IN REPLY TO
   PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION OR IN THE
ALTERNATIVE SUMMARY JUDGMENT AND IN OPPOSITION TO DEFENDANTS’
  AND DEFENDANT-INTERVENOR’S MOTION FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       At this point in the briefing of this case, a dose of reality is helpful. Sodium oxybate, the

active ingredient in both Plaintiff Avadel’s and Defendant-Intervenor Jazz’s narcolepsy drugs, is

a scheduled controlled substance. If not carefully controlled, it can get into the hands of non-

patients for whom the drugs are not prescribed, and it has been associated with date rape and other

abuse. For that reason, specialized Risk Evaluation and Mitigation Strategies (“REMS”) are

needed to prevent diversion of oxybate drugs from the distribution chain for narcolepsy patients.

       The specific Jazz patent at the core of this case, as described in “use code” U-1110, does

not address how Jazz’s drug is to be used by any patient diagnosed with narcolepsy. It instead

addresses a specific process to limit distribution of the drug, in order to prevent non-patients from

obtaining it. When Congress enacted the FDCA’s patent certification provisions in Section

505(b)(2), it focused the obligation to certify on patents that claim either “the drug” itself or a

“use” for that drug. Nothing in Section 505(b)(2) focuses on the controlled distribution systems

that may be necessary to prevent diversion of a drug. Indeed, when Congress later addressed such

drug distribution and related safety measures in Section 505-1 in 2007, it specifically provided that

such anti-diversion and safety measures should not be used to delay the approval of NDAs under

Section 505(b)(2). See Food and Drug Administration Amendments Act of 2007, Pub. L. No. 110-

85, 121 Stat. 823, 932 (codified at 21 U.S.C. § 355-1(f)(8)). And yet, the thrust of both Jazz’s and

Federal Defendants’ briefs in this case is that Jazz and FDA should be permitted to do exactly what

Congress prohibited in 505-1(f)(8)—delay approval of Avadel’s 505(b)(2) drug by interpreting the

certification provisions in 505(b)(2)(A) to cover a “use code” solely addressing drug distribution.



               Jazz has maintained a monopoly on oxybate drugs for 20 years and has repeatedly



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sought to extend that monopoly well beyond the time limits of the patent protections afforded to

oxybate drugs themselves. See infra at 6 (discussing ongoing federal investigation of Jazz). In

this case, only one Jazz patent is now at issue—its ‘963 patent for a drug distribution system. That

particular patent is not subject to FDA’s certification regime for at least four reasons.

       First, Congress set out a process in Section 505(b)(2)(A) for certification to certain patents,

providing that a certification would be made in the applicant’s “opinion . . . and to the best of [its]

knowledge.” Congress could have placed this “Opinion Clause” so it only applied to certain

limited factual questions by, for example, moving the “Opinion Clause” into “Paragraph IV” of

Section 505(b)(2)(A), so the text required an applicant to certify, “in the opinion of the applicant

and to the best of his knowledge that such patent is invalid or will not be infringed by the

manufacture, use, or sale of the new drug.” But Congress chose not to draft the provision this way.

         Likewise, Congress could have indicated that the obligation to certify applies to any

patent that, in the judgment of the Secretary, claims a drug or use for a drug. Again, Congress did

not write Section 505(b) in that manner. Instead, the Opinion Clause appears at the outset of the

patent certification provision and must apply to all of the applicant’s judgments thereafter relevant

to certification. Functionally, an applicant must first reach an opinion and make a judgment

regarding which patents can trigger a certification—i.e., whether a patent claims the drug or a use

for the drug. If the answer to the initial question is yes, then the second question is whether the

certification falls under Paragraphs I-IV of Section 505(b)(2)(A). At that stage, only Paragraph

IV requires genuine exercise of opinion or judgment; the other Paragraphs are largely mechanical.

       The Federal Defendants and Jazz essentially argue that the Opinion Clause, despite its

position at the outset of the statutory text, only genuinely applies to Paragraphs I-IV. This requires

the reader to skip all 48 words in between and assume—contrary to the explicit text—that Congress


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intended without saying that FDA and not the applicant would make the necessary judgments

about which patents require a certification. That position is counter-textual. It is also directly

contrary to FDA’s binding regulation at 21 C.F.R. § 314.50(i)(1)(i)(A), which expressly sets forth

Avadel’s interpretation that the Opinion Clause applies to whether a patent “claims” a “use” for

“such drug” for which the applicant seeks approval. There is no basis to defer to FDA’s view here,

and FDA’s suggestion that it has been unfairly denied Chevron deference rings hollow. Even if

the text of the statute were ambiguous (it is not), there would have been no lawful basis for FDA

to deviate from its regulation in the Patent Decision or for this Court to defer to FDA’s conflicting

interpretation in this case. Moreover, FDA has acknowledged that it has no expertise to conduct

any substantive patent policing. Nor could it—practically, there are thousands of patents listed in

the Orange Book. An applicant, not FDA, knows which use codes are most likely to be applicable,

and is accordingly empowered to make that judgment under the statutory scheme.

       Had Avadel been permitted to stand on its original patent statement, Jazz could have sought

the normal relief that any patent holder may seek—it could file a patent infringement lawsuit (as

it already has done, twice), and request a preliminary injunction against LUMRYZ’s marketing.

But FDA’s Decision compelling a certification erroneously delivered Jazz a statutory delay on

LUMRYZ’s approval—a thirty-month stay during which competition remains foreclosed, unless

and until Avadel can convince a judge, however many months later, to release the stay.

       Second, even if FDA were correct about the “Opinion Clause” in Section 505(b)(2)(A) (it

is not), FDA could not require any certification here to U-1110.




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                                                                                                  It is

too late now for FDA to disavow those core findings. Congress could not have meant to require

certification of distribution system use codes when it referred to patent information that “claims”

a “use” for “such drug”—here, a use for sodium oxybate itself.

       Third, FDA’s regulations allow it to look, if at anything, at the use code for the ‘963 patent,

and to compare that use code only to Avadel’s “labeling” to reach a conclusion about certification.

But FDA looked beyond the four corners of Avadel’s labeling to an extrinsic “LUMRYZ REMS

Document,” to locate a reference to a “computer database,” and then erroneously found an overlap

with Jazz’s use code. That “LUMRYZ REMS Document” is not part of Avadel’s labeling: It will

not be attached to the drug or its containers, and it will not accompany the drug to patients or

prescribers. Instead, the LUMRYZ REMS Document is an internal FDA document that, at most,

may eventually be loaded onto FDA’s public website, like FDA’s other public-facing dockets.

Accordingly, FDA violated its own regulation by relying on the LUMRYZ REMS Document.

       Fourth, even if FDA could look beyond the proposed LUMRYZ labeling (it cannot),

U-1110 describes the use of a single, centralized “computer database” for drug distribution. That

is how Jazz’s FDA-approved REMS works: Using a single central database, one central pharmacy,

and other restrictions. The proposed LUMRYZ REMS functions differently: It will operate with

multiple central pharmacies and use four separate and distinct computer databases to control the

distribution of LUMRYZ. FDA arbitrarily and capriciously concluded that Avadel’s REMS

distribution system somehow overlapped with Jazz’s REMS, as described in its use code.


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       Perhaps sensing that FDA has acted beyond its authority here, Jazz also raises other novel

arguments—none of which the Federal Defendants join—including that Congress has stripped the

District Courts of their normal jurisdiction to review final agency action under the APA that arises

during FDA’s new drug approval process. That argument not only does violence to 21 U.S.C.

§ 355(h), which narrowly commits direct-review jurisdiction in the Court of Appeals over only

NDA denial orders, but it would revolutionize this Court’s jurisdiction, pursuant to which this

Court routinely rules on final FDA orders, including tentative approvals, that arise during the NDA

process. That includes cases like Purepac Pharm. Co. v. Thompson, 238 F. Supp. 2d 191, 202-03

(D.D.C. 2002), aff’d, 354 F.3d 877, 882 (D.C. Cir. 2004), in which this Court literally reviewed a

near-identical compelled certification letter-decision as “final agency action.”

       Despite Jazz’s efforts to complicate these proceedings by injecting these and many other

extraneous issues that the Federal Defendants decline to join, the fact remains that the issues raised

by FDA’s Patent Decision are legal in nature and merit expedited redress by this Court. The Court

should set aside the Patent Decision and order FDA to decide the LUMRYZ NDA within 14 days.

                                           ARGUMENT

       The record produced by FDA in this case now reveals how the current dispute arose.




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to the distribution of later entrants’ drugs. Congress therefore provided that no holder of an

approved drug application covered by a REMS, like Jazz, “shall use any element to assure safe use

required by the Secretary under this subsection to block or delay approval of an application under

section 355(b)(2) or (j) of this title,” i.e., to delay a 505(b)(2) applicant, like Avadel, from reaching

the market. 21 U.S.C. § 355-1(f)(8). But this is precisely what has happened here, through Jazz’s

abuse of U-1110. At the very least, 505-1(f)(8) confirms Congress’s intent that REMS and REMS

use codes cannot be utilized for this purpose. It is not possible to harmonize Congress’s intent in

505-1(f)(8) with Jazz’s and FDA’s new interpretation of 505(b)(2)(A) and their other positions in

this case, all of which are unavoidably delaying the final approval of Avadel’s NDA.

        Here, there is no basis for this Court to uphold FDA’s Patent Decision blessing Jazz’s

abuse. This Court has jurisdiction over this matter, and the Patent Decision cannot withstand

review. Indeed, Avadel has identified four independent grounds to set aside the Patent Decision,

any one of which would merit vacatur.

I.      JAZZ’S REVIEWABILITY CHALLENGES ALL FAIL

        A.      Congress Has Not Stripped This Court’s Jurisdiction

        Before diving into the merits, we can quickly dispose of Jazz’s arguments on subject matter

jurisdiction, which the Federal Defendants have not joined.             Jazz claims this Court lacks

jurisdiction because the case belongs in the Courts of Appeals. That is wrong. Absent “a provision

authorizing review in the court of appeals, challenges to agency action to which the APA’s judicial

review provisions apply fall within the district court’s federal question jurisdiction under 28 U.S.C.

§ 1331.” Micei Int’l v. Dep’t of Com., 613 F.3d 1147, 1152 (D.C. Cir. 2010). Here, no statute

authorizes review of the Patent Decision in the Courts of Appeals.

        Jazz’s argument (at 13-15) relies on 21 U.S.C. § 355(h), which provides that “[a]n appeal

may be taken by the applicant from an order of the Secretary refusing or withdrawing approval of
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an application under this section,” and the D.C. Circuit’s decision in Nostrum Pharmaceuticals,

LLC v. FDA, 35 F.4th 820 (D.C. Cir. 2022). In Nostrum, the D.C. Circuit held it lacked direct-

review jurisdiction under Section 355(h) over a “complete response letter” (“CRL”)—a letter from

FDA which “describe[s] all of the specific deficiencies that the agency has identified” in a drug

application and provides the applicant an opportunity to submit the pertinent information. 35 F.4th

at 825. Section 355(h) and Nostrum are unremarkable. Congress vested jurisdiction in the Courts

of Appeals over an “order of the Secretary refusing or withdrawing an approval of an application,”

and a CRL, by definition, is not such an order. 21 U.S.C. § 355(h). It is an interim step—not even

“final agency action” subject to review in any court under the APA. Nostrum, 35 F.4th at 825.

       Nostrum is correct as far as it goes, but Jazz is attempting (at 13-15) to stretch it beyond

recognition to establish a far broader proposition—that the Courts of Appeals not only have

jurisdiction over “order[s] of the Secretary refusing or withdrawing approval of an application,”

but also any order involved in the NDA approval process. Nostrum held no such thing. District

Courts routinely hear APA challenges to final FDA orders issued as part of the NDA process that

are not orders “refusing or withdrawing approval of an application,” and many of those challenges

have been affirmed on appeal.3 Indeed, this Court has heard—and the D.C. Circuit has affirmed—


3
  See, e.g., Teva Pharm. USA, Inc. v. Sebelius, 638 F. Supp. 2d 42, 53 (D.D.C. 2009), aff’d in
relevant part, rev’d in unrelated part, 595 F.3d 1303, 1304, 1309, 1311 (D.C. Cir. 2010) (holding
ANDA applicant’s challenge to FDA’s decision, in a “tentative approval,” to not to grant Teva
exclusivity was “ripe” prior to “final approval”); Apotex Inc. v. FDA, 414 F. Supp. 2d 61, 63, 64
(D.D.C. 2006), aff’d, 226 F. App’x 4 (D.C. Cir. 2007) (no jurisdictional bar to challenge to “FDA’s
decision to deny immediate approval to Apotex” where “FDA granted tentative approval” but
“delayed final approval” due to “180–day exclusivity”); Order Den. of Mot. for Prelim. Inj.,
Purepac Pharm. Co. v. Friedman, No. 1:98-cv-01780-RCL (D.D.C. 1998), aff’d, 162 F.3d 1201
(D.C. Cir. 1998) (similar decision on tentative approval); Order Den. of Mot. for Prelim. Inj., Teva
Pharm., USA, Inc. v. FDA, No. 1:99-cv-00067-CKK (D.D.C. 1999), rev’d in unrelated part, 182
F.3d 1003, 1004 (1999) (no jurisdictional bar to suit seeking “injunction making Teva’s ANDA
effective,” where ANDA was “tentatively approved” but “ineligible for final approval”); Mylan


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multiple challenges in exactly this posture. Purepac found that FDA’s near-identical letter-

decision that an applicant “must submit” a “patent certification” was reviewable in this Court,

notwithstanding that there had been no CRL, no denial, and the ANDA remained pending. 238 F.

Supp. 2d at 202-03, aff’d, 354 F.3d 877. Similarly, in Ranbaxy Labs. Ltd. v. FDA, this Court

upheld FDA’s decision that an applicant’s “certifications” were “invalid,” and thus, “approval” of

the ANDAs was properly “delayed.” 307 F. Supp. 2d 15, 21 (D.D.C. 2004), aff’d, 96 F. App’x 1

(D.C. Cir. 2004); see also TorPharm, Inc. v. Thompson, 260 F. Supp. 2d 69, 83-84 (D.D.C. 2003)

(upholding FDA’s decision that a “certification” was “improper”), aff’d, Purepac, 354 F.3d 877.

       TRAC v. FCC is not to the contrary. 750 F.2d 70, 78–79 (D.C. Cir. 1984). To be sure, the

D.C. Circuit there held that where “a statute commits review of agency action to the Court of

Appeals, any suit seeking relief that might affect the Circuit Court’s future jurisdiction is subject

to the exclusive review of the Court of Appeals.” Id. But the critical thing Jazz misses is that the

judicial review provision there provided near plenary review over all orders of the agency. 28

U.S.C. § 2342(1); 47 U.S.C. § 402(a). As TRAC recognized, the scope of jurisdiction-stripping

depends on the breadth of the Courts of Appeals’ direct-review jurisdiction: If “the underlying

claim is not subject to the jurisdiction of the Court of Appeals,” “adjudication of the claim in the

District Court will not affect any future statutory review authority of the Circuit Court.” 750 F.2d

at 78.4 Here, unlike in TRAC, and as Nostrum recognized, Section 355(h) is not plenary. Rather,

it is exceedingly narrow, covering a very specific type of order—an order refusing or withdrawing



Pharms., Inc. v. Sebelius, 856 F. Supp. 2d 196, 206 (D.D.C. 2012) (no bar to compel FDA to
“immediately approve Mylan’s ANDA”); Veloxis Pharms., Inc. v. U.S. FDA, 109 F. Supp. 3d 104,
106 (D.D.C. 2015); Barr Lab’ys, Inc. v. Thompson, 238 F. Supp. 2d 236, 250, 255 (D.D.C. 2002).
4
  Jazz’s cases (at 13-14) all concern direct-review provisions of agencies like the FCC (TRAC),
FTC (Jamison), Civil Aeronautics Board (AAPA), Nuclear Regulatory Commission (Zech), and
Mine Safety and Health Administration (Zegeer) that, unlike the FDCA, broadly commit direct
review of broad swaths of agency orders, if not all agency orders, to the Courts of Appeals.
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approval of an NDA. That does not sweep within its scope all potential orders related to an NDA.

       The Supreme Court, the D.C. Circuit, and this Court have recognized as much. In

Weinberger v. Bentex Pharmaceuticals, Inc., the Supreme Court held that that while “an order

denying an NDA or withdrawing one is reviewable by the Court of Appeals, § 505(h),” “an order

that does not deny or withdraw an NDA is reviewable under the Administrative Procedure Act,”

for instance, “if it declares a ‘new drug’ status.” 412 U.S. 645, 651 (1973). That is, the FDCA’s

narrow provisions for direct review in the Courts of Appeals “do not manifest ‘a congressional

purpose to eliminate judicial review of other kinds of agency action.’” Id. In Cutler v. Hayes, the

D.C. Circuit addressed this issue head on, explaining that Section 355(h) differs from the plenary

review provision in TRAC, and thus, where FDA action is not subject to “specialized review

provisions” like Section 355(h), “TRAC does not apply,” and FDA action is “directly reviewable

in a district court.” 818 F.2d 879, 887 n.61 (D.C. Cir. 1987). Because Section 355(h) “authorizes

review by a court of appeals only in cases challenging disapprovals of new-drug applications,” it

is “therefore inapplicable” to any other agency action short of a final denial order. Id. Jazz simply

ignores Cutler because it is fatal to Jazz’s argument. The D.C. Circuit reaffirmed Cutler in In re

NRDC, explaining that if an FDA order does not clearly fall within a direct review provision under

the FDCA, jurisdiction lies in the “district court,” and the Courts of Appeals will not “assert

jurisdiction on the basis of hypothetical scenarios” where “the basis of prospective jurisdiction is

a speculative chain of events.” 645 F.3d 400, 405 (D.C. Cir. 2011); see also Moms Against

Mercury v. FDA, 483 F.3d 824, 827 (D.C. Cir. 2007) (district court jurisdiction remains, even if

FDA “might subsequently take some action that is directly reviewable in this Court”). And in

Torpharm, Inc. v. Shalala, this Court considered a near-identical issue, where FDA had “neither

refused nor withdrawn approval” of an ANDA, but “tentatively approved” it with a “delayed . . .


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effective date” for final approval. No. 97-1925, 1997 WL 33472411, at *2 (D.D.C. Sept. 15,

1997). This Court found it had “jurisdiction,” because a claim that “FDA’s misinterpretation of a

statutory provision has operated to deprive [applicant] of immediate approval” did not mean FDA

“refused to approve plaintiff’s ANDA, in the way contemplated in Section 355(h).” Id.

       All of these same problems defeat Jazz’s related arguments with respect to Avadel’s claim

that FDA “unreasonably withheld” a final decision approving or offering a hearing on the

approvability of the LUMRYZ NDA. As explained above, approval of an NDA is not an issue

committed to the Courts of Appeals under Section 355(h). Thus, this Court has recognized its

“jurisdiction” to decide claims that FDA has failed to comply with its 180-day deadline to

“approve” or offer “a hearing” on “whether such application is approvable” “under section 706(1)

of the [APA].” Sandoz, Inc. v. Leavitt, 427 F. Supp. 2d 29, 34, 36 (D.D.C. 2006).

       B.      The Patent Decision Is Final Agency Action Reviewable under the APA

       Contrary to Jazz’s arguments (at 15-18), FDA did not err in

                                          and in assenting to review of the Decision before this

Court. An agency action is final when it either “determined” “rights or obligations” or “legal

consequences” “flow” from it. Sackett v. EPA, 566 U.S. 120, 126 (2012). And the decision must

also mark the “consummation” of the agency’s decision-making, id., i.e., “it must not be of a

merely tentative or interlocutory nature.” Bennett v. Spear, 520 U.S. 154, 177-78 (1997).

       Jazz does not contest the Patent Decision “determined” Avadel’s “rights or obligations.”



                                                                                            That is,

FDA “determined” that Avadel has an “obligation[]” to submit a certification. Sackett, 566 U.S.

at 126. The Decision instructed Avadel to take an action. Jazz admits (at 17) that “the relief that


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the CRL at issue in Nostrum, which “afford[s] applicants the opportunity to provide additional

information” before FDA renders a final decision and carries “no implication as to the ultimate

approvability” of an NDA, 35 F.4th at 825-26,



             . Unlike a CRL, which “open[s] multiple doors” under FDA’s CRL regulations by

permitting the applicant to, among other options, request a hearing and then appeal within FDA,

Nostrum, 35 F.4th at 826, no regulations authorized such a hearing or appeal from the Patent

Decision, and none was offered. And unlike a CRL, which preserves the possibility of “persuading

senior FDA leadership” to change its “mind,” id.,

                                                                         The Decision, as its states

on its face, was final concerning the limited issue decided. Nat’l Treasury Emples. Union v. FLRA,

745 F.3d 1219, 1222-23 (D.C. Cir. 2014) (“final agency action ‘need not be the last administrative

action” under a statute, where an agency makes “a final determination” of a specific “question”).7

       Jazz next suggests that review is precluded because Avadel was required to draw a CRL

and ultimately a denial, rather than certify under protest and seek judicial review. But it is well-

established that an organization may comply with a final agency order and then seek judicial

review. See Church of Scientology v. United States, 506 U.S. 9, 15 (1992) (“compliance” with

subpoena did not moot case, as seized materials could be “returned”); United States v. Chrysler,

158 F.3d 1350, 1353-54 (D.C. Cir. 1998) (compliance with recall order did not moot challenge to

that order); AMA v. Reich, 955 F. Supp. 4, 7 (D.D.C. 1997) (compliance with agency survey did

not deprive agency action of finality), superseded on other grounds, Sturm Ruger v. Herman, 131


7
  Accordingly, Jazz’s argument (at 14) that “the Patent Decision did not address the effect of the
unexpired ODE [orphan drug exclusivity] covering XYWAV,” is beside the point: There is no
requirement that a final order decide every conceivable NDA issue in order to be reviewable.
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F. Supp. 2d 211, 213 (D.D.C. 2001); Sackett, 566 U.S. at 126, 131 (legal consequences flowed

from order that “strong-arm[ed] regulated parties” to choose “voluntary compliance” or possible

enforcement); S.F. Herring Ass’n v. Dep’t of the Interior, 946 F.3d 564, 568, 582 (9th Cir. 2019)

(“obeying” agency’s orders did not deprive them of finality).8 Jazz also misses that Avadel could

not have lawfully drawn a CRL on this issue. Tellingly, the Federal Defendants do not argue a

CRL could have or would have issued. That makes sense because FDA did not issue a CRL.

Instead, FDA has recognized for decades that none of the criteria in Section 355(d), which provide

the bases on which FDA may deny an application (and upon which FDA might therefore issue a

CRL), allow FDA to question the accuracy of applicants’ patent information.9 And at least two

Circuits have adopted FDA’s interpretation. See aaiPharma Inc. v. Thompson, 296 F.3d 227, 239-

40 (4th Cir. 2002); Apotex, Inc. v. Thompson, 347 F.3d 1335, 1348-49 (Fed. Cir. 2003).10

       Finally, Jazz argues (at 17) that APA review is unavailable because Avadel possesses an

“adequate remedy” elsewhere. 5 U.S.C. § 704. For the reasons discussed above and as Nostrum

itself makes clear, review in the Courts of Appeals is not available because the Patent Decision,


8
  Such a supposed “choice” to flout FDA was illusory here: Jazz warns that standing on “[a] false
505(b)(2)(B) statement is potentially criminal.” Dkt. 14 at 4-5. These are the sorts of “risks” a
regulated entity is not required to bear to obtain judicial review. See, e.g., U.S. Army Corps of
Eng’rs v. Hawkes Co., 578 U.S. 590, 598 (2016) (mere “risk” of potential penalties suffices).
9
  Section 355(d)(6) does allow FDA to deny an application if “the application failed to contain the
patent information prescribed by” Section 355(b). But as FDA explained and the Federal and
Fourth Circuits agreed, “Section 355(d)(6)” requires FDA “action when the NDA fails to list any
patents that claim the drug product for which approval is being sought or fails to include a
declaration that there are no such patents,” but does not require FDA to evaluate the accuracy of
patent information. Ex. 2 to Schlossman Decl., Response Brief of FDA and HHS at 14, Apotex,
Inc. v. Thompson, No. 02-1295, 2002 WL 32941938 (Fed. Cir. Sept. 23, 2002).
10
   Jazz’s sole contrary evidence is a redacted, extra-record CRL (Dkt. 24-35), but that confirms a
CRL is not a viable or lawful path for review here. After FDA held the applicant in limbo for 3
years, the CRL did not order the applicant to convert a statement to a certification, but to renew
certifications it already submitted in its “opinion.” See also Ex. 3 to Schlossman Decl., Statement
of Material Facts at 15-16, Takeda v. Zydus, No. 18-1994 (D. N.J. Feb. 24, 2021), Dkt. 152-1.


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although final, is not an “order . . . refusing . . . approval of an application.” 21 U.S.C. § 355(h).

Nor is the pending patent case a real “alternative.” The suits involve different questions: In the

Delaware case, whether the ‘963 patent properly qualifies for listing in the Orange Book;11 here,

FDA considered use code U-1110, and addressed whether Avadel was required to certify to it. The

Court here must construe Avadel’s NDA and use code U-1110; the Delaware court must focus on

whether the ‘963 patent is properly listed, an issue this Court will not reach. For example: In the

Delaware suit, Jazz is arguing (incredibly) that it may list any content it wishes in the Orange Book

regarding the ‘963 patent, because it would raise a “retroactivity” problem under the statute to

delist the patent.12 That is distinct from the patent certification issue here, i.e., whether, in light of

U-1110, a certification was required. What is worse, Jazz is trying to short-circuit judicial review

in the Delaware case, arguing that FDA’s determination in the Patent Decision is dispositive of the

issues there, i.e., conclusively establishes that Jazz’s listing of the ‘963 patent is proper. Supra

n.12 at 8-9. So, on Jazz’s view, the “alternative” to vacating the Patent Decision here is the patent

case, where (1) that court cannot set aside the Patent Decision, (2) Jazz is arguing that court is not

empowered to overturn its patent listing, either, and (3) Jazz is holding out FDA’s Decision as

dispositive of the delisting issues there. That is far from “clear and convincing evidence” of an

adequate alternative remedy. Ramirez v. USCIS, 310 F. Supp. 3d 7, 23-24 (D.D.C. 2018).

II.       AVADEL’S CHALLENGE TO THE PATENT DECISION SUCCEEDS

          A.      FDA Lacks Authority To Second Guess an Applicants’ Opinion That a Patent
                  Certification Is Inappropriate

               1. Avadel did not waive its challenge to FDA’s lack of statutory authority

          The Federal Defendants (at 12-13) and Jazz (at 18-19) argue incorrectly that Avadel


11
     Ex. 4 to Schlossman Decl., Brief at 6, Jazz v. Avadel, No. 21-691 (D. Del. June 23), Dkt. 118.
12
     Ex. 5 to Schlossman Decl., Reply Brief at 3-6, Jazz v. Avadel (D. Del. Aug. 28, 2022), Dkt. 154.
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forfeited its challenge to FDA’s statutory authority to compel a patent certification by allegedly

failing to present that identical issue to FDA prior to the Patent Decision. As a reminder, Avadel

did not know precisely until the May 2022 Patent Decision why its NDA was being held in

administrative limbo, or that FDA intended to compel a certification as to U-1110. In all of the

parties’ communications, Avadel was never presented with any specific FDA position on the issue

and could not read FDA’s mind: Until the Patent Decision, Avadel was not certain what decision

FDA would make or how it would reach it.




                                             Yet the Federal Defendants and Jazz nonetheless argue

that Avadel did not raise the issue with sufficient specificity to preserve it.

       While it is true that in some cases a plaintiff must have raised an issue to an agency with

specificity in advance, that rule does not apply here. No statute or regulation requires it in this

context, so the question would be whether the Court should impose a “judicially created issue-

exhaustion requirement” akin to “the rule that appellate courts will not consider arguments not

raised before trial courts,” which depends on the degree of “analogy to normal adversarial

litigation” in a “particular administrative proceeding.” Carr v. Saul, 141 S. Ct. 1352, 1358 (2021).

The underlying proceeding here was not sufficiently adversarial to apply an exhaustion

requirement. The FDCA instructs that FDA “shall” grant NDAs upon the satisfaction of the

statutory criteria, principally focused on safety and efficacy. 21 U.S.C. § 355(b)-(d). FDA’s


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review of NDAs is generally iterative and cooperative. The proceedings here were simply not

formal or “adversarial enough to support the ‘analogy to judicial proceedings.’” Carr, 141 S. Ct.

at 1360. Thus, the Federal Defendants’ (at 12-13) and Jazz’s (at 18-19) cases are inapposite, as

they arose in adversarial proceedings or notice-and-comment rulemaking.

       Highlighting the point, the lack of formality and adversity in FDA’s process here never put

Avadel on adequate notice that it would be required to remind FDA to adhere to its statutory

limitations. Any challenge to FDA’s determination that it would compel Avadel’s certification—

which FDA first announced in the Patent Decision—“would have been premature” in preceding

communications with the agency. FirstHealth Moore Reg’l Hosp. v. Becerra, 560 F. Supp. 3d

295, 305 (D.D.C. 2021). FDA did not issue, for example, any kind of order to show cause why

Avadel should not be compelled to submit a certification or request any briefing or argument or

other formal response on this issue. Avadel’s entitlement to judicial review on the issue “arose at

the same time as [Avadel] became aware” that FDA would order Avadel to certify. Id. It was not

responding to any specific FDA position on the issue:




       And even if FDA had a point (it does not), the doctrine of futility would prevent any waiver.

It would make “little sense . . . to present claims to adjudicators who [we]re powerless to grant the

relief requested.” Carr, 141 S. Ct. at 1361. As explained infra at 21, FDA’s regulation explicitly

interprets the Opinion Clause in Section 505(b)(2)(A) to apply to the question of whether an

applicant must certify to a patent, agreeing with Avadel’s reading of the statute. 21 C.F.R.

§ 314.50(i)(1)(i)(A). But FDA has for some time erroneously refused to recognize the significance


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of that reading, and instead has issued multiple Federal Register notices claiming (incorrectly and

contrary to the statute and regulation) that FDA has authority to make that certification

determination itself. 68 Fed. Reg. 36676, 36682 (2003); 81 Fed. Reg. 69580, 69600 (2016). These

advisory opinions tied FDA’s hands, despite the contrary statutory and regulatory text. 21 C.F.R.

§ 10.85(d)(1), (e), (g). FDA may only change its position by revoking it in a Federal Register

“Notice” “in the same manner as notice” of the original “advisory opinion.” Id. Thus, even if

Avadel had, without prompting or foreknowledge of FDA’s decision, more precisely challenged

FDA’s position, there is no reason to believe FDA would or could have changed its position.13

       In support of its claim of waiver, the Federal Defendants say (at 12-13) that they were

unfairly denied the opportunity to receive Chevron deference, and accordingly they have not

asserted it on this issue. But FDA suffered no prejudice.          Chevron deference could only

conceivably apply if the Court concludes that it cannot resolve the statutory interpretation issue at

Chevron Step 1. As detailed below (infra at 19-21), the plain language and structure of the statute

foreclose the Federal Defendants’ interpretation.       And even if Section 505(b)(2)(A) were

ambiguous (it is not), the actual interpretation of the provision Federal Defendants advance in this

case conflicts with FDA’s binding regulation at 21 C.F.R. § 314.50(i)(1)(i)(A), and thus would be

ineligible for deference. Infra at 21; Maupin v. Azar, 424 F. Supp. 3d 830, 836–37 (C.D. Cal.

2019) (under Chevron, agency interpretation is “not reasonable if it conflicts with preexisting

regulations”); White v. United States, 543 F.3d 1330, 1338 (Fed. Cir. 2008) (similar).

           2. FDA lacks statutory authority to police patent certifications and statements

       Turning to the substantive legal issue, FDA lacks authority to compel applicants to submit


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  Jazz argues (at 19) that Avadel could have sought “reconsideration,” “supervisory review,” or a
“hearing,” but as explained supra at n.6 & 13, the former options are irrelevant to judicial review;
the latter option was neither offered nor available; and any of these options would have been futile.
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patent certifications in place of statements. It is undisputed that the FDCA never expressly

authorizes any of that. Instead, the Federal Defendants (at 13-16) and Jazz (19-22) argue why such

authority should be read into the statute, identifying a host of disparate provisions (as to which

they cannot agree) that, they say, create this power by implication. But this is all revisionism:

When FDA issued its Federal Register notice asserting power to “determine whether the applicant

must submit a patent certification,” it acknowledged the “absence of explicit statutory language”

authorizing such a regime and relied on policy arguments. 68 Fed. Reg. at 36,6832-83.

       In any event, FDA’s Federal Register notice was only half right: While there is no “explicit

statutory language” authorizing FDA’s approach, the statute’s text unambiguously forecloses

FDA’s seizure of this authority to compel certifications. Under the FDCA, an NDA shall include:

       (A) a certification, in the opinion of the applicant and to the best of his knowledge, with
       respect to each patent which claims the drug for which such investigations were conducted
       or which claims a use for such drug for which the applicant is seeking approval under this
       subsection and for which information is required to be filed under paragraph (1) or
       subsection (c)—
               (i) that such patent information has not been filed,
               (ii) that such patent has expired,
               (iii) of the date on which such patent will expire, or
               (iv) that such patent is invalid or will not be infringed by the manufacture, use, or
               sale of the new drug for which the application is submitted; and
       (B) if with respect to the drug for which investigations described in paragraph (1)(A) were
       conducted information was filed under paragraph (1) or subsection (c) for a method of use
       patent which does not claim a use for which the applicant is seeking approval under this
       subsection, a statement that the method of use patent does not claim such a use.

21 U.S.C. § 355(b)(2). The crux of the Federal Defendants’ (at 14-15) and Jazz’s (at 23) arguments

is that the italicized requirement to provide a certification “in the opinion of the applicant and to

the best of his knowledge” does not modify the immediately following obligation to provide a

certification “with respect to each patent . . . which claims a use for such drug for which the

applicant is seeking approval under this subsection,” but must be read to skip over the intervening


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48 underlined words, and modify the information provided in Paragraphs (i) through (iv).

       That interpretation is incorrect: Jazz’s lead case confirms that ordinarily “modifiers and

qualifying phrases attach to the terms that are nearest,” rather than “modify other, more-distant

language.” City of Salisbury v. FERC, 36 F.4th 1164, 1169 (D.C. Cir. 2022); see also Grecian

Magnesite Mining, Indus. & Shipping Co., SA v. Comm’r of IRS, 926 F.3d 819, 824 (D.C. Cir.

2019) (same); United States v. Laraneta, 700 F.3d 983, 989 (7th Cir. 2012) (“[A] modifier at the

beginning . . . of a series of terms modifies all the terms.”). This “skip 48 words” theory of

statutory interpretation is particularly odd here, because Paragraphs (i)-(iii) speak to obvious facts

to which no real “opinion” could be offered, like whether a “patent has expired” or “will expire”

on a given “date.” 21 U.S.C. § 355(b)(2)(A)(i)-(iii).14 And to the extent the Opinion Clause

modifies Paragraphs (i)-(iv), that does not mean it does not also modify “claims a use for such

drug for which the applicant is seeking approval.” 21 U.S.C. § 355(b)(2)(A). On the contrary, it

reinforces that it does, because subsections (i)-(iv) expressly incorporate the prior clause by

reference to “such patent” as described in the prior clause. Jazz’s related argument (at 20) that the

“opinion of the applicant” also modifies the term “certification” further supports Avadel’s

position: It is undisputed that one of the issues that must be addressed by a “certification” is

whether the drug “claims a use for such drug for which the applicant is seeking approval.” 21

U.S.C. § 355(b)(2)(A). And at a minimum, all parties agree that it is necessary to read beyond the

word “certification” to determine which issues must be attested to “in the opinion of the applicant.”


14
  Jazz relatedly claims (at 22-23) that, since certifications must be to “fact[s],” the Opinion Clause
serves no other function than to afford applicants some leniency in the event that their certifications
to specified “facts” turn out to be incorrect. However, Jazz’s premise that certifications are
ordinarily made solely to facts, and not also opinions, is simply incorrect. See Certification,
Black’s Law Dictionary (11th ed. 2019) (defining “certification” as “[t]he act of attesting; esp., the
process of giving someone or something an official document stating that a specified standard has
been satisfied”); Certify, Black’s Law Dictionary (11th ed. 2019) (similar).
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       Moreover, the interpretation of Section 505(b)(2)(A) that Federal Defendants are now

advancing (at 14-15)—that the Opinion Clause only applies to Paragraphs I-IV—is contrary to

FDA’s binding regulations. For nearly 2 decades, FDA’s regulations have agreed with Avadel

that the Opinion Clause also applies to whether a patent claims a drug or use for a drug:

       A 505(b)(2) application is required to contain . . . [a]n appropriate patent
       certification or statement with respect to each patent issued by the U.S. Patent and
       Trademark Office that, in the opinion of the applicant and to the best of its
       knowledge, claims the drug substance or drug product on which investigations that
       are relied upon by the applicant for approval of its 505(b)(2) application were
       conducted or that claims an approved use for such drug and for which information
       is required to be filed under section 505(b) and (c) of the Federal Food, Drug, and
       Cosmetic Act and § 314.53.

21 C.F.R. § 314.50(i)(1)(i)(A). Those regulations then go on to state that the Opinion Clause also

applies to the type of certification to make. Id. (“For each such patent, the applicant must provide

the patent number and certify, in its opinion and to the best of its knowledge, one of the following

circumstances: [Discussing Paragraph I through IV]”).          FDA doubled down on the same

interpretation in 2015, when it explained in an advisory opinion that binds the agency that

“505(b)(2) and ANDA applicant[s] currently are required to submit a patent certification or

statement for each patent issued by the PTO that, in the opinion of the applicant and to the best of

its knowledge, claims the listed drug or [reference listed drug] or that claims an approved use for

such drug for which the applicant is seeking approval and for which information is required to be

filed under section 505(b) and (c) of the FD&C Act and § 314.53.” 80 Fed. Reg. 6,802, 6,847

(2015); see also 81 Fed. Reg. 69,580, 69,634 (2016) (similar advisory opinion). Yet again, “[i]t is

unclear why here in litigation, FDA takes a position so clearly in opposition to its regulations.”

Genus Lifesciences, Inc. v. Azar, 486 F. Supp. 3d 450, 465 (D.D.C. 2020).

       Since the statute unambiguously forecloses the agency from compelling a patent

certification, the Federal Defendants (at 13-16) and Jazz (at 22-25) fall back on their view that the

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agency can reject a non-compliant patent statement, because the Opinion Clause should not be

read to extend to the patent statement provision in 21 U.S.C. § 355(b)(2)(B). So, they reason, FDA

must necessarily be able to compel a certification. The problems with this argument are numerous.

First, even if the Opinion Clause does not apply to statements, the Federal Defendants and Jazz

have not identified a grant of Congressional authority that would even allow FDA to reject a

statement—the statute does not frame a statement, for example, as “in the opinion of the

Secretary.” Second, even if FDA had the implicit power to reject a statement, that would not imply

a corresponding power to compel a patent certification “in the opinion of the applicant and to the

best of his knowledge,” which the Federal Defendants (at 14) acknowledge FDA did in the Patent

Decision. Such a reading would render Congress’s express language in the Opinion Clause

surplusage. See TRW Inc. v. Andrews, 534 U.S. 19, 31 (2001).

        The Federal Defendants claim (at 15) that they must be right because, pursuant to the

statute, there must be “either a certification or a statement.” Not quite. It is true that an NDA must

include at least one certification or statement to be complete. See Genus Lifesciences, Inc. v. Azar,

No. 20-211, 2021 WL 270409, at *3 (D.D.C. Jan. 27, 2021) (holding that the effective date

provisions for 505(b)(2) applications only function if there is at least one statement or

certification).   But this NDA contained many statements and certifications, so that rule is

inapplicable. There is no statutory requirement that a certification or a statement must be submitted

with respect to every single patent that pertains to a drug. See id.; 21 U.S.C. § 355(b)(2)(A)-(B).

        That is clear from the language in subsections (A) and (B). Those provisions are not mirror

images, so the fact a statement is impermissible under (B) does not necessarily mean a certification

is necessary under (A).      Under subsection (A), certifications are subject to a heightened

requirement that the incumbent patent “claims a use for such drug for which the applicant is


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seeking approval,” while patent statements are appropriate for an incumbent “patent which does

not claim a use for which the applicant is seeking approval”—i.e., the statement provision lacks

the “such drug” language from the certification provision, meaning that the statement provision

can sweep more broadly. Id. (emphases added). Thus, FDA’s view that U-1110 does not qualify

for a statement, as a use code that “does not claim a use for which the applicant is seeking

approval,” id., would not, by itself, show that U-1110 “claims a use for such drug for which the

applicant is seeking approval” and is subject to certification. Id. § 355(b)(2)(A).

       There is still another problem with deriving a power to compel patent certifications from

an alleged power to police patent statements: Statements are only available for a patent describing

a “use” patent, while certifications more broadly apply to both “use” patents and drug product

patents that “claim[] the drug” itself. Id. § 355(b)(2)(A)-(B). So, if a purported power to compel

certifications arises from the purported power to police statements, that compelled certification

power would attach only to “use” patents, not drug product patents. Why would Congress do that?

       FDA’s and Jazz’s remaining, revisionist sources of authority are unavailing. The Federal

Defendants point (at 13) to 21 U.S.C. § 393 as “giv[ing] FDA the authority to execute [the

FDCA’s] provisions.” But “[a]n agency’s general rulemaking authority plus statutory silence does

not [ ] equal congressional authorization.” Merck & Co. v. HHS, 385 F. Supp. 3d 81, 92 (D.D.C.

2019) (Mehta, J.). Jazz disagrees with FDA, relying (at 21) on 21 U.S.C. § 355(d)(6), which allows

FDA to deny an NDA if it “failed to contain the patent information prescribed by subsection (b).”

FDA does not assert that authority, and Jazz’s argument is wrong for the reasons explained above

(supra at 14 & n.9)—FDA has disclaimed this authority under that provision for years. Jazz’s

reliance (at 20-21) on Section 355(e)(5), which allows FDA to withdraw approval of an NDA that

“contains any untrue statement of a material fact,” is also wrong. A judgment whether a use code


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“claims” “a use” for a drug amounts to a legal question (the one before this Court), not a “statement

of material fact.” 21 U.S.C. § 355(e)(5). And, of course, FDA has made no finding in this case

that would support invocation of that clause. FDA did not, for example, conclude that Avadel’s

opinion that it need not certify was insincere. To the contrary, it was apparently a close enough

question in FDA’s view to justify issuing a 16-page Patent Decision.

       Next, Federal Defendants contend (at 13 n.7) that courts have upheld FDA’s authority to

review patent certifications and statements. However, these cases never discussed, much less

decided, whether FDA has authority to compel patent certifications. FDA’s citation to Dr. Reddy’s

Laboratories, Inc. v. Thompson, is also unavailing. 302 F. Supp. 2d 340 (D.N.J. 2003). There,

the District of New Jersey upheld FDA’s authority to compel an ANDA applicant to file a patent

statement in place of a certification under ANDA (generic) provisions. Id. at 363-66. Avadel does

not necessarily agree with that case, but even on its own terms, it supports Avadel’s position rather

than undercuts it. As detailed above, the power to compel a patent statement, as Dr. Reddy’s

purported to find, does not imply a corresponding power to compel a certification “in the opinion

of the applicant.” Supra at 21-22. The court expressly relied on the distinction of the “opinion of

the applicant” language governing a certification, whereas there is “no mention of the applicant’s

opinion with respect to section viii statements,” with the court expressly recognizing that

“certifications . . . are to be made in the opinion of the applicant.” Id. (emphases added).

       Finally, Federal Defendants (at 15-16) and Jazz (at 25-26) fall back on policy arguments.

But such arguments are insufficient to overcome the statute’s text and structure. Eagle Pharms.,

Inc. v. Azar, No. 16-790, 2018 WL 3838265, at *9 (D.D.C. June 8, 2018). And in any event,

contrary to their claims, Avadel’s position would not eliminate patent certifications or compromise

the statutory scheme.    Most obviously, Federal Defendants and Jazz overlook that


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                    It is unlikely that NDA applicants will knowingly falsify patent submissions—

i.e., submit a statement when in their opinion a certification is necessary—because intentional

fraud on FDA is unlawful. See 18 U.S.C. § 1001(a). At most, deferring to the “opinion of the

applicant” might result in fewer certifications and more statements in close cases where the patent

issues are reasonably debatable. But Congress’s choice to defer to the “opinion of the applicant”

in close cases makes good sense in light of its goal of expediting entry, as well as FDA’s admitted

lack of “expertise” and “authority” to engage in patent analysis. 68 Fed. Reg. at 36,683. Nor is

an incumbent deprived of remedies to address alleged infringement; it can pursue the normal

remedy of a preliminary injunction. None of this was an unreasonable choice for Congress to

make in cases of reasonable, good-faith disagreement, especially in light of well-documented

difficulties in ensuring the Orange Book’s accuracy in the first place. Purepac, 354 F.3d at 884.

       B.      The LUMRYZ NDA Does Not Seek Approval of a “Use For” Sodium Oxybate,
               Nor a “Condition of Use,” Claimed by U-1110

       In its Motion, Avadel demonstrated that, even assuming FDA is authorized to compel

patent certifications, the Patent Decision was unlawful, because the LUMRYZ NDA does not seek

approval for any use for a drug, much less a use of sodium oxybate, that is described in U-1110.

Avadel Mot. at 24-30. The Federal Defendants’ and Jazz’s contrary arguments fail.15

               1.        U-1110 does not describe a use for “such drug”
                         a.     U-1110 does not describe a use for any drug

       A patent certification is only required when a patent “claims the drug” or “claims a use for


15
  The Federal Defendants claim (at 16) the entire Patent Decision qualifies for arbitrary and
capricious review (and accordant deference). Not so. Courts “always first examine the statute de
novo” and “accord the agency’s interpretation no deference” if it is clear. NACAA v. EPA, 489 F.
3d 1221, 1228 (D.C. Cir. 2007). And FDA must not “offer[] an explanation for its decision that
runs counter to the evidence[.]” MVMA v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43 (1983).
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[the] drug for which the applicant is seeking approval.” 21 U.S.C. § 355(b)(2)(A). U-1110 does

not describe a “use for such drug,” i.e., a “use for” sodium oxybate as required by 21 U.S.C.

§ 355(b)(2)(A) to trigger a patent certification. As always, the interpretative exercise begins with

the text. See Ross v. Blake, 578 U.S. 632, 638 (2016). And here it ends there as well, because the

statute’s meaning is clear. The statute does not define what it means to “use” a “drug,” so the

Court looks to those terms’ plain meaning. Walters v. Metro. Educ. Enters., Inc., 519 U.S. 202,

207 (1997). In this context, “use” means to “consume,” “take,” or “put into service.” Use,

Merriam Webster (2022). The “use” for a “drug,” therefore, relates to administering it to a

patient.16




                                    FDA’s implementing regulation, 21 C.F.R. § 314.50(i)(1)(i),

(iii)(B), requiring a certification to a “use for such drug” or a “condition of use,” confirms this

interpretation. The Federal Defendants seem to accept (at 17-18) that a certification could not be

compelled by that regulation unless it was also required by the statute, and that the Court should

read that regulation consistent with FDA’s longstanding interpretation of a “condition of use” as

relating to how the drug is administered to a patient. Indeed, the Federal Defendants point (at 17)

to their 2016 amendments to this regulation, which made explicit that “conditions of use,” as used

in this very regulation, include the drug’s “dosing regime.” 81 Fed. Reg. 69580, 69607 (2016). In

sum, a certification would be required with respect to the use code U-1110 only if U-1110 relates


16
   The legislative history cited by FDA (at 16) confirms this plain language: Certifications are
required “[w]ith respect to all product patents which claim the listed drug and all use patents which
claim an indication for the drug for which the applicant is seeking approval . . . .” H. Rep. No.
98-857(l), 1984 WL 37416, 1984 U.S.C.C.A.N. 2686, 2703; Allergan, Inc. v. Alcon Labs., Inc.,
200 F. Supp. 2d 1219, 1229 (C.D. Cal. 2002) (discussing this history).
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to how the drug is administered to a patient with narcolepsy.

       U-1110 does not. To be sure, Jazz has misleadingly added the words “method of treating

a patient with a prescription drug” to the beginning of its use code, and the Federal Defendants (at

17) likewise try truncating U-1110 in their brief to focus on just that text. But that is not a

permissible way for an agency to read text of legal significance. See, e.g., Jones v. United States,

527 U.S. 373, 389 (1999) (“[L]anguage must be read in context and a phrase ‘gathers meaning

from the words around it.’”); Motor Vehicle Mfrs., 463 U.S. at 43 (agency cannot fail to “consider

an important aspect of the problem”). FDA must read the use code in context and in light of the

record, as the D.C. Circuit specifically instructed FDA to do in Purepac when it affirmed this

Court’s ruling setting aside FDA’s decision compelling a patent certification. 354 F.3d at 883.

       The D.C. Circuit explained there that FDA must determine—based on the “entire record,”

including the patent holder’s own representations to FDA—what a use code covers. Id. at 884-85.

The D.C. Circuit rejected the Federal Defendants’ contention that FDA can ignore its “entire

record” and rest on a “legal fiction” that a “use code,” by virtue of its very Orange Book listing,

describes a “use” of a drug that could trigger a certification. Id.; see also 238 F. Supp. 2d at 204

(rejecting this “legal fiction”). FDA knew this when it wrote its Patent Decision: In accordance

with Purepac,




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       FDA’s construction of U-1110 is fatal to the Federal Defendants’ arguments here because

a distribution system to limit diversion of a drug to non-patients does not describe how the drug is

administered to a patient with narcolepsy, as required by the statute to trigger a certification. The

Federal Defendants now seek (at 17) to abandon the Patent Decision’s construction and apply a

broader construction of U-1110 as a “use” for a “drug.” But that post-hoc reasoning can be

disregarded—FDA’s Decision may only be upheld on the basis articulated by the Decision itself.

SEC v. Chenery Corp., 318 U.S. 80, 87 (1943).



                                                                                           Purepac,

238 F. Supp. 2d at 210 (“FDA may not, consistent with the requirement of reasoned decision-

making, impose a requirement on [applicant] incompatible with the agency’s own understanding

of the facts” by “retreating from its previous position” as to what a “use code” “covers”).

       And that is the fatal flaw of the Patent Decision.




                                                                                is clearly not a “use

for such drug,” 21 U.S.C. § 355(b)(2)(A), because U-1110 does not relate to how the drug is

administered to a patient with narcolepsy. The only permissible conclusion based on the evidence

before the agency was that Avadel did not need to certify as to U-1110.

       Indeed, this follows from what Congress specifically said in the provision creating the

REMS system. In Section 505-1(f)(8), Congress provided that no holder of an approved drug

application covered by a REMS, like Jazz, “shall use any element to assure safe use . . . to block


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or delay approval” of a 505(b)(2) applicant, like Avadel, from reaching the market. 21 U.S.C.

§ 355-1(f)(8). The industry has gotten the message: Jazz stands nearly alone in maintaining this

practice. Supra at 6. It is not possible to harmonize Congress’s Section 505-1(f)(8) with FDA’s

interpretation of Section 505(b)(2)(A) to sweep up REMS “distribution” use codes.

                       b.     U-1110 does not describe a use for sodium oxybate

       U-1110 also does not describe a use for sodium oxybate, as required by the statute. 21

U.S.C. § 355(b)(2)(A). The Federal Defendants (at 16, 17, 19) and Jazz (at 30) admit U-1110

never mentions “sodium oxybate.” But they now argue (id.) that U-1110 is good enough because

it describes distribution of a “prescription drug,” and “sodium oxybate is a prescription drug.” But

the Federal Defendants’ reasoning conflicts with the unambiguous statutory text.

       Recall that the statute requires “a certification, in the opinion of the applicant and to the

best of his knowledge, with respect to each patent which claims the drug for which such

investigations were conducted or which claims a use for such drug for which the applicant is

seeking approval . . . .” 21 U.S.C. § 355(b)(2)(A). Any “prescription drug” cannot be what

Congress meant by its reference to “such drug.” To the contrary, “such drug” refers to the same

drug described in the immediately preceding text—“the drug for which such investigations were

conducted.” 21 U.S.C. § 355(b)(2). That drug, of course, is a specific one—sodium oxybate—

not any “prescription drug.” The broader statutory context confirms the point: To “claim” a drug

or a method of using that drug under Section 355 of the FDCA, it is necessary to expressly describe

that drug by name, i.e., the “active ingredient”—not through some more vague description. See,

e.g., UFCW Local 1776 v. Takeda Pharma. Co. Ltd., 11 F.4th 118, 134-35 (2d Cir. 2021) (where

an incumbent “patent claim . . . fails to explicitly include the drug,” i.e. the relevant “active

ingredient,” it neither claims the drug nor a method of using the drug under Section 355(b)(1)); In


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re Lantus Direct Purchaser Antitrust Litigation, 950 F.3d 1, 3, 6, 8 (1st Cir. 2020) (failure to

“mention the drug” meant that patent did not “claim the drug” or “a method of using the drug”

under Section 355(b)). Congress’s demand for specificity makes good sense. If simply listing “a

prescription drug” suffices to describe “such drug,” then every prescription drug that seeks FDA

approval and uses a distribution database would need to certify to U-1110. That cannot be right.17

         For all these reasons, the Federal Defendants and Jazz18 fail to support their reasoning

that U-1110 “claims a use for such drug” for which Avadel is seeking approval.

                        c.      Jazz’s other arguments are misdirected

        In a series of arguments that Federal Defendants tellingly do not join, Jazz asserts (at 26-

32) that “the ‘963 Patent and Use Code 1110 are appropriately included in the Orange Book and

cannot be challenged here.” Jazz’s arguments miss the point and egregiously mischaracterize the

relief Avadel is seeking here. Here, Avadel is not seeking delisting of the ‘963 patent from the

Orange Book. The Federal Defendants recognize this. Fed. Defs.’ Br. at 18-19 (“Avadel does not

challenge Jazz’s decision to list the ’963 patent in the Orange Book.”). Instead, Avadel seeks to

be relieved of the compelled obligation imposed by the Patent Decision to certify to U-1110. To


17
   FDA asserts (at 19) that “a use code that does not expressly mention a particular drug can
nonetheless describe the use of that drug,” citing the factual background in Caraco Pharmaceutical
Laboratories, Ltd. v. Novo Nordisk A/S, 566 U.S. 399, 410-11 (2012). But that background offers
no support: There, the parties did not dispute that a use code described methods of using a drug,
and disputed only the interpretation of a provision of Section 355 that is not at issue here. Id.
18
   Jazz suggests that the Court take into account (at 30) that “the patent is in the record and it refers
explicitly to both ‘sodium oxybate’ and ‘Xyrem®.’” But Jazz cannot have it both ways: If the
Court follows Jazz’s position (at 26 n.6) that FDA is prohibited from considering the ‘963 patent
itself, then Jazz’s arguments fail, because U-1110 undisputedly never mentions sodium oxybate.
Supra at 30. And if the Court follows Jazz’s suggestion (at 30) to review the ‘963 patent, Jazz’s
arguments fail, because the ‘963 patent describes a use of a database for distribution, not a use for
a drug. Avadel Mot. at 30-34. Indeed, Jazz has construed the ‘963 patent to “claim[] methods of
using a computer-implemented system to safely distribute [GHB] for treatment of a narcoleptic
patient”—not a method of using sodium oxybate. Ex. 5 to Schlossman Decl., Joint Claim
Construction Brief at 46, Jazz v. Avadel (D. Del. July 29, 2022) (No. 1:21-cv-00691), Dkt. 132.
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review that, this Court must decide whether use code U-1110 describes a “use” for “such drug,”

sodium oxybate, for which Avadel seeks approval. 21 U.S.C. § 355(b)(2). FDA’s decision on

these matters is subject to review in this Court, Purepac, 354 F.3d at 885, and not the patent court,

see 21 U.S.C. § 355(c)(3)(D)(ii)(I). Indeed, FDA is not even a party to the patent suit, and that

court will have no occasion to opine on whether FDA violated the APA—the issue in this case.

       Jazz ignores the case entirely, but the D.C. Circuit already decided this issue in Purepac.

The Court expressly rejected Jazz’s argument here, that a court construing the scope of a “use

code,” by determining the “use” covered by the code based on the “entire record,” would

contravene FDA’s ministerial role in accepting patent information. 354 F.3d at 883. There was

no bar to FDA or this Court construing the scope of the “use code” to determine whether a new

entrant was improperly ordered to file a certification, because the reviewing court would not need

to, and would not be authorized to, “address what the patent actually covered,” and instead must

review the use code, informed by the “entire record” before FDA. Id. (emphasis added).

       The division of labor between this Court and the patent court confirms that Jazz is wrong.

When a party seeks to delist a patent from the Orange Book, its remedy is to file a “counterclaim”

in a “patent infringement action” to obtain an order “to correct or delete the patent information,”

if “the patent does not claim . . . an approved method of using the drug.”                  21 U.S.C.

§ 355(c)(3)(D)(ii)(I) (emphasis added); see also Caraco, 566 U.S. at 425 (a counterclaim may

“challenge [a] brand’s overbroad use code,” as beyond the patent scope). But Avadel is not doing

any of that here: It is not requesting to delist the ‘963 patent; it is not challenging whether the ‘963

patent claims an approved method of use (rendering it un-listable); and it is not challenging the

degree of “fit” between the scope of the ‘963 patent and the scope of U-1110. The only issue in

this case, with respect to Jazz’s use code U-1110, is whether that use code describes “a use for


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such drug for which the applicant is seeking approval under this subsection” such that FDA could

arguably compel a patent certification under the FDCA’s distinct patent certification provision. 21

U.S.C. § 355(b)(2)(A). Because this case will not determine the scope of the underlying ‘963

patent, or whether the ‘963 patent should be delisted, the questions here are distinct from those

within the patent court’s jurisdiction. See 21 U.S.C. § 355(c)(3)(D)(ii)(I).

               2.      Avadel’s LUMRYZ REMS does not seek approval under 21 U.S.C. § 355(b)
                       for a use for a drug

       Finally, it is time to shift perspectives from Jazz’s use code to Avadel’s NDA. As the

Federal Defendants note (at 18), to trigger a certification, it is not alone sufficient for Jazz’s use

code to describe a use for sodium oxybate—the LUMRYZ REMS would also need to constitute a

“use for [sodium oxybate] for which the applicant is seeking approval under this subsection.” 21

U.S.C. § 355(b)(2)(A). The language “this subsection,” of course, refers to 21 U.S.C. § 355(b).

       The Federal Defendants argue this standard is met because the REMS “was submitted

under section 355(b).” FDA Br. at 18 (citing 21 U.S.C. § 355-1(a)(1)). But that misconstrues both

the statute and the administrative record. Section 355(b)(1)(A) describes in detail what is to be

submitted under Section 355(b)—absent is anything to do with a REMS. Instead, a REMS is

“submitted” and “approved” under an entirely different section of the statute—Section 355-1.

Paragraph (1) of subsection 355-1(a) (titled, “Submission of Proposed Strategy”) instructs FDA to

determine whether a REMS is necessary. 21 U.S.C. § 355-1(a)(1). If so, the applicant is to submit

to FDA a “proposed” REMS to FDA as part of its application. Id. Section 355-1(c) then goes on

to specify the required contents of the proposed REMS, which can trigger statutory requirements

for the participation of multiple review divisions within FDA. Id. § 355-1(c). Section 355-1(h)

then creates an elaborate approval process for the proposed REMS that is distinct from the approval

processes under Section 355 in many ways, including through the inclusion of a statutory dispute

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resolution process, public participation, and recommendations from the Drug Safety Oversight

Board (the list goes on). Id. § 355-1(h). And that same subsection instructs the Secretary to “act

on the proposed” REMS within the time period prescribed. Id. § 355-1(h)(2)(A)(i). In sum, under

the statute, it is clear that a REMS is both submitted and approved pursuant to Section 355-1. The

fact the REMS is part of the broader “application” submitted under Section 355(b) is irrelevant

because the REMS is not a proposed “use” for which an applicant “seek[s] approval” under that

subsection. Indeed, Section 355-1 itself recognizes that, while a proposed REMS is part of a

broader “application,” it is submitted under Section 355-1. Id. § 355-1(a)(1), (h)(1), (h)(3).




                                                                                                 .19

       Separately, even if Avadel’s REMS were subject to approval under subsection 355(b), it

would make no difference, because Avadel in the LUMRYZ REMS is not “seeking approval” for

a “use” for “such drug,” sodium oxybate. 21 U.S.C. § 355(b)(2). This is just a statutory matching

exercise: Is there a match between (i) a “use for such drug” described by U-1110 (discussed supra

at 25-31), and (ii) a “use for such drug for which the applicant,” Avadel, “is seeking approval.”

21 U.S.C. § 355(b)(2)(A). The Federal Defendants raise this issue expressly: “The question is

whether the ‘use’ described in U-1110 . . . is – in addition to being part of Jazz’s REMS – a use


19
  Jazz argues (at 28) “REMS elements” are “approved pursuant to section 505(c) and (d).” But if
that were right, it would just confirm that Avadel wins, because, as the Federal Defendants note
(at 18), the applicant must seek approval of the relevant “use” under § 355(b), not § 355(c) or (d).
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for which Avadel seeks approval under section 355(b).” Fed. Defs.’ Br. at 18; see also id. at 20.

       This issue is readily disposed of: For the same reasons discussed above (supra at 25-31)

Avadel’s “use” for which it is purportedly “seeking approval,” the LUMRYZ REMS, is not a “use

for such drug,” 21 U.S.C. § 355(b)(2), nor a “condition of use” “for which the applicant is seeking

approval.” 21 C.F.R. § 314.50(i)(1)(iii)(B). This all might seem a bit redundant, and it is. But

Jazz’s arguments (at 26-32) make it necessary to highlight the issue: Even if Jazz were right in its

incorrect claim that this Court cannot review whether U-1110 “claims a use for such drug” or a

“condition or use,” contrary to the binding Purepac decision, there is no dispute this Court would

in all events have jurisdiction over this distinct issue of whether Avadel in the LUMRYZ REMS

is “seeking approval under this subsection” for a “use” for “such drug.” 21 U.S.C. § 355(b)(2)(A).

Avadel’s LUMRYZ REMS does nothing of the sort. See supra at 25-31;

       C.      FDA Violated Its Own Regulations by Referring To LUMRYZ REMS
               Information beyond the LUMRYZ Labeling

       FDA has bound itself by regulation to look only to a NDA’s proposed “labeling” to

determine the use for which an NDA seeks approval, and thus, whether a certification is required.

21 C.F.R. § 314.50(i)(1)(iii)(B). FDA failed to comply with its regulation, because it based its

Patent Decision on a “LUMRYZ REMS Document” that is not part of the LUMRYZ labeling.

       The Federal Defendants (at 20) and Jazz (at 33-34, 38) argue that Avadel waived this

challenge by failing to raise it, and by suggesting in places that a REMS might sometimes form

part of labeling. As with their prior waiver arguments, these arguments overstate traditional waiver

doctrines. See supra at 16-17. “[E]xhaustion is ‘a rule of judicial administration,’” and “where

Congress has not clearly required exhaustion, sound judicial discretion governs.” McCarthy v.

Madigan, 503 U.S. 140, 144 (1992), superseded on other grounds, Woodford v. Ngo, 548 U.S. 81

(2006); cf. Jason v. Summerfield, 214 F.2d 273, 276 (D.C. Cir. 1954) (“equitable estoppel do[es]

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not ordinarily apply” to “administrative” decisions). Here, judicial discretion does not militate in

favor of permitting FDA to violate its own regulations. Nat’l Env’t Dev. Ass’n v, 752 F.3d at 1009.

       The LUMRYZ labeling—as opposed to the “LUMRYZ REMS Document” FDA

considered—makes no reference to a database, and therefore cannot overlap with U-1110. As

Avadel has explained (Mot. at 32), the FDCA provides two separate pathways for approval of an

NDA’s “labeling” and a proposed “REMS.” Compare 21 U.S.C. § 355(b)(1)(A)(vi), (c)-(d)

(labeling review), with 21 U.S.C. § 355-1(a)(1), (h) (REMS review). Here, it is undisputed, as

Avadel has shown, that the “LUMRYZ REMS Document” will neither be included in the

LUMRYZ label or upon the drug or its container or wrappers, or accompanying the drug. Divis

Decl. ¶ 32. It is therefore not part of the labeling. See 21 U.S.C. § 321(m).

       Instead, a REMS “is a risk management plan that uses risk minimization strategies beyond

approved labeling to manage serious risks associated with a drug.”20 Courts have concurred with

FDA’s view that a REMS “allows for additional FDA restrictions beyond those set forth on the

drug’s labeling.” Am. Coll. of Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183, 190

(D. Md. 2020). The Federal Defendants’ (at 20-21) and Jazz’s (at 34-35) citation to Kordel v.

United States is not to the contrary. 335 U.S. 345, 350 (1948). That case concerned pamphlets that

were mailed to consumers separate from the drug itself. Id. The Supreme Court concluded that

“labeling” is not limited to “labels that are on or in the article,” but also content that “supplements

or explains” the drug as part of “an integrated distribution program” to consumers. Id. at 349-50.




20
   Dkt. 2-33, Ex. 27 to Divis Decl., Questions and Answers: FDA Approves a Class Risk
Evaluation and Mitigation Strategy (REMS) for Transmucosal Immediate-Release Fentanyl
(TIRF) Medicines (“Q&A”), FDA (Dec. 28, 2020) (emphasis added).
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                                                                           This document was put

on file with FDA; is not addressed to patients or prescribers; and, at most, may be docketed by

FDA onto its website. See Fed. Defs.’ Br. at 21; Jazz Br. at 34-35; Divis Decl. ¶ 32. But merely

posting to an agency website is not sufficient to amount to “labeling.” See, e.g., Wilson v. Frito-

Lay N. Am., Inc., No. 12-1586 SC, 2013 WL 1320468, at *7 (N.D. Cal. Apr. 1, 2013) (website did

not constitute “labeling”). Jazz’s main argument (at 34-35) is that Avadel would eventually

disseminate other letters, brochures, and other educational materials (most of which do not

mention a “database”) for patients, prescribers, and pharmacists. But Jazz does not contend those

individuals would receive the LUMRYZ REMS Document, the only document FDA relied on.21




                                                                                    Jazz argues (at

36-37) that “labeling” is broader than “prescribing information;” but Jazz does not demonstrate

the LUMRYZ REMS Document is “labeling.”              Absent any overlap between the proposed

LUMRYZ labeling and U-1110’s description of the ‘963 patent, no certification was required

under 21 C.F.R. § 314.50(i)(1)(iii)(B), and the Patent Decision erred in concluding otherwise.

       D.      U-1110 Does Not Describe a Use Of Sodium Oxybate For Which Avadel Seeks
               Approval in the LUMRYZ NDA.

       Even if the “LUMRYZ REMS Document” did form part of LUMRYZ’s “labeling,” there

is no overlap between that document and U-1110’s description of the ‘963 patent.



21
  Jazz also argues (at 32) that, under Section 355(b), FDA must disregard its regulations, and
review any portion of the LUMRYZ NDA, including the REMS, as a “use” for which Avadel
seeks approval. But this is the same error Jazz made earlier: A REMS is not a “use” for which an
applicant seeks “approval under this subsection,” i.e., subsection 355(b). Supra at 33-34.
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Of course, there is nothing novel or special about using a “database”—it is as common today as

using a file cabinet once was. The question is not whether Jazz and Avadel use some system of

maintaining records, it is how that system works. And these two systems clearly work differently.

       The Federal Defendants (at 21-24) and Jazz (at 38-39) argue that the term “a” can have

multiple meanings—sometimes, to refer to a singular object, and sometimes, one or more objects.

But Federal Defendants and Jazz are missing the key point:




                                            That accords with the plain-text meaning of “a.” See


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withheld,” 5 U.S.C. § 706(1), the Federal Defendants’ arguments (at 24-26) and Jazz’s arguments

(at 40-43) are all fundamentally misdirected. They contend that Federal Defendants should not be

compelled to finally adjudicate the LUMRYZ NDA within 14 days of this Court’s order, because

a patent certification bars approval. But that is not the relief Avadel is requesting: Avadel is

requesting that, to the extent Avadel is no longer bound to a certification—i.e., FDA’s Patent

Decision is set aside—FDA should not be permitted to keep LUMRYZ’s NDA in endless limbo,

in continuing violation of the 180-day deadline for a decision of the NDA. Avadel Mot. at 41-45.

       The Federal Defendants’ (at 7 n.7) and Jazz’s (at 14, 16, 41) arguments reinforce why this

relief is necessary. They claim that there is an “unresolved” question of “whether any orphan drug

exclusivity (ODE) recognized for Xyrem . . . affects the approval of Avadel’s NDA.” But if

Federal Defendants and Jazz are right that FDA is holding in reserve an unresolved issue, the time

has come to decide that issue, and either approve the NDA, or offer Avadel a hearing on

approvability. See 21 U.S.C. § 355(c)(1); 21 U.S.C. § 360cc(a)(2). Against the background of

FDA’s months of unlawful inaction on the NDA, FDA cannot now take a “take our word for it”

approach that they will act promptly now.25 Jazz also suggests (at 42) that a PDUFA action date

is just an aspirational goal that can negate the mandatory statutory deadline for agency action, but

this Court has already expressly rejected that exact argument. Sandoz, 427 F. Supp. 2d at 34-36.

       Finally, the Federal Defendants (at 26) raise no argument that the “TRAC factors”


25
  Jazz further muddles the issue (at 40) by arguing that an NDA subject to a certification is only
subject to the timing provisions in Section 505(c)(3), not the mandatory 180-day deadline in
Section 505(c)(1). Not so. These provisions work together: The former provision requires FDA
to “approve the application” or offer a “hearing” within 180 “days after the filing of an
application,” 21 U.S.C. § 355(c)(1), while the latter provision provides the time at which the
“approval of an application . . . shall be made effective,” based on the relevant patent certification.
21 U.S.C. § 355(c)(3). These provisions allow FDA to delay the effectiveness of an approval
based on a certification, not to endlessly defer adjudicating the approval of the NDA.


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potentially relevant to an unreasonable delay action (not Avadel’s challenge to action unlawfully

withheld26) are unmet, while Jazz argues those factors are not met. Jazz is wrong: Jazz makes no

showing that anything about the Covid-19 pandemic has prevented FDA from timely adjudicating

other NDAs, and Avadel has shown the contrary. Mot. at 43-44. Jazz identifies (at 42) the interests

of “patients” in new “treatment options” as “narrow.” But those interests are serious and weighty,

as are the interests in ensuring that the Federal Defendants comply with the law. Id. at 41.

III.   ALL EQUITABLE FACTORS SUPPORT IMMEDIATE RELIEF

       The Federal Defendants (at 27-28) and Jazz (at 43-45) offer only a cursory discussion of

the equitable factors governing preliminary injunctive relief, and do not submit any evidence to

dispute Avadel’s showings. That makes sense: Given that the Court now has before it cross-

motions for summary judgment, it technically need not reach those issues. Dkt. 12 at 2-3. Because

Avadel has requested expedited relief, however, it briefly responds to their arguments here.

       A.      Avadel Will Suffer Irreparable Harm Absent Immediate Relief

       The Federal Defendants (at 27) and Jazz (at 43) argue that the prospect of immediate

irreparable harm amounts to “speculation.”




26
   The Federal Defendants argue (at 26 n.15) that agency action unlawfully withheld would not, in
of itself, justify an injunction compelling agency action. Putting aside that Avadel has shown its
entitlement to an injunction, infra at 42-45, the cases the Federal Defendants cite (Cobell and Barr)
are inapposite because they discussed claims framed as unreasonably delayed action. Here, Avadel
is expressly arguing that FDA has unlawfully withheld action required by a statutory deadline.
                                                 42
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                                           Bell Helicopter Textron, Inc. v. Airbus Helicopters, 78

F. Supp. 3d 253, 274 (D.D.C. 2015). They do not dispute that the window of time for this Court

to provide meaningful relief is extremely short, favoring immediate relief. Divis Decl. ¶¶ 73-74.

Nor do the Federal Defendants dispute the harm to narcolepsy patients nationwide is irreparable,


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         B.     The Balance Of Equities And Public Interest Favor Immediate Relief

         Next, the balance of equities and public interest, which merge “when the Government is

the opposing party,” Nken v. Holder, 556 U.S. 418, 435 (2009), also support preliminary relief.

         The Federal Defendants’ appeal (at 28) that the Court should not “upend the status quo” is

unavailing: Where an agency is engaged in an ongoing violation of the law, much less one

perpetuating a monopoly, the public interest clearly favors immediately ending the “perpetuation

of unlawful agency action.” League of Women Voters of U.S. v. Newby, 838 F.3d 1, 6, 13 (D.C.

Cir. 2016); see also Otsuka Pharm. Co., Ltd. v. Torrent Pharm. Ltd., Inc., 99 F. Supp. 3d 461, 507

(D.N.J. 2015). Remarkably, the Federal Defendants claim (at 27-28) that overturning the Patent

Decision would cause “certain and substantial hardship” and “irreparable harm” to Jazz. But Jazz

itself has not even asserted any such harm; it did not even submit a harm declaration. Instead, the

Federal Defendants’ reflexive defense of Jazz’s commercial interests has more to say about FDA’s

own interests, than any public interest. Nor do the Federal Defendants dispute the substantial

medical benefits of LUMRYZ to patients. See Avadel Mot. at 10-11; supra at 44 & n.27.

                                         CONCLUSION

         For the foregoing reasons, this Court should grant Avadel’s motion; deny the Federal

Defendants’ and Jazz’s cross motions; set aside FDA’s Patent Decision ordering Avadel to submit

a patent certification; and order FDA to decide the LUMRYZ NDA within 14 days of the Court’s

order.




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                                   Respectfully submitted,

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